     Case: 1:19-cv-03827 Document #: 59 Filed: 02/04/20 Page 1 of 33 PageID #:231




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION




 SHRANDA CAMPBELL,

                        Plaintiff,
                                                    Case No. 1:19-cv-03827
         v.

 FORD MOTOR COMPANY,
                                                    Honorable Martha M. Pacold
                        Defendant.                  Honorable Jeffrey Cummings




              DEFENDANT FORD MOTOR COMPANY’S ANSWER
     TO PLAINTIFF SHRANDA CAMPBELL’S FOURTH AMENDED COMPLAINT
                                                                                                    1
        For its Answer to Plaintiff Shranda Campbell’s Fourth Amended Complaint (“FAC”),

Defendant Ford Motor Company (“Ford” or “Defendant”) responds as follows:

                                      GENERAL DENIAL

        Except as specifically admitted herein, Ford denies each and every allegation contained in

the FAC, including, without limitation, any allegations contained in the preamble, headings,

subheadings or footnotes of the FAC, and specifically denies any liability to Plaintiff. Pursuant to

Rule 8(d) of the Federal Rules of Civil Procedure, averments in the FAC to which no responsive

pleading is required shall be deemed as denied. Ford expressly reserves the right to seek to amend

or supplement its Answer as may be necessary.



 1
     Although styled as Plaintiff’s “Fourth Amended Complaint,” this is Plaintiff’s first amended
     complaint in this action, Case No. 1:19-cv-03827.
    Case: 1:19-cv-03827 Document #: 59 Filed: 02/04/20 Page 2 of 33 PageID #:232




                   ANSWER TO SPECIFIC ALLEGATIONS IN THE FAC

                                  JURISDICTION AND VENUE

            1.      This is an action pursuant to the United States Constitution, the Title VII Civil

Rights Act of 1964 (“Title VII”), 42 U.S.C. § 2000e et seq., as amended, and 42 U.S.C. §§ 1981

et seq., as amended. This court has jurisdiction under and by virtue of 28 U.S.C §§ 1331, 1343

and 1367.

            ANSWER: Paragraph 1 first recites purported causes of action that Plaintiff asserts

against Ford and therefore does not require a response. The remainder of paragraph 1 contains

allegations of jurisdiction to which no answer is required. To the extent a response is required,

Ford denies that Plaintiff’s claims have merit and denies that it violated the above statutes as

alleged.

            2.      Venue is appropriate in the Northern District of Illinois pursuant to 28 U.S.C.

§1391(b) as the unlawful employment practices stated herein were, in whole or in part, committed

within the Northern District of Illinois. Venue further lies within this judicial district under 28

U.S.C. § 1391(c), since Defendant Ford Motor Company does business in this judicial district at

least by operating plants in Illinois.

            ANSWER: Paragraph 2 contains allegations of venue to which no answer is required.

Ford admits that it operates the Chicago Stamping Plant in the Northern District of Illinois. Ford

denies committing any unlawful employment practices.

                                             PARTIES

            3.      At all times herein mentioned, Plaintiff, Shranda Campbell (hereinafter

“Plaintiff”), was employed by the Defendant Ford Motor Company (hereinafter “Ford”).




                                                  1
    Case: 1:19-cv-03827 Document #: 59 Filed: 02/04/20 Page 3 of 33 PageID #:233




           ANSWER: Ford admits that Plaintiff was employed at Ford from November 21, 2001

until the termination of her employment on or about August 29, 2016.

           4.      At all times herein mentioned, Defendant, Ford, was and is believed and alleged

hereon to be a corporation operating within the jurisdiction of this Court.

           ANSWER: Ford admits that it is a Delaware corporation with its principal place of

business in Dearborn, Michigan. Ford admits that it operates the Chicago Stamping Plant in the

Northern District of Illinois.

                                   FACTUAL ALLEGATIONS

           5.      Plaintiff was employed by Ford from 2000 through her termination in 2016.

           ANSWER: Ford admits that Plaintiff was employed at Ford from November 21, 2001

until the termination of her employment on or about August 29, 2016.

           6.      From 2011 until her termination, Plaintiff was employed at Ford’s Chicago

Stamping Plant.

           ANSWER: Ford admits that Plaintiff was employed at Ford’s Chicago Stamping Plant

from October 3, 2011 until the termination of her employment on or about August 29, 2016.

           7.      Plaintiff is an African-American female.

           ANSWER: Ford admits the allegations in paragraph 7.

           8.      Ford is a recidivist offender that willfully ignored the issues and evidence raised

in prior litigation and EEOC findings and has failed to take measures to eradicate known

discrimination and harassment from the workplace.

           ANSWER: Ford denies the allegations in paragraph 8.

           9.      Ford knowingly allowed acts of sexual, racial, and retaliatory harassment to

occur toward Plaintiff Campbell.



                                                 2
    Case: 1:19-cv-03827 Document #: 59 Filed: 02/04/20 Page 4 of 33 PageID #:234




           ANSWER: This paragraph contains conclusions of law to which no response is

required. To the extent that this paragraph contains factual allegations that require a response,

Ford denies the allegations in paragraph 9.

           10.     Ford engaged in a pattern and practice of discrimination, harassment, retaliation

towards Plaintiff including, but not limited to:

                   a. Sexual assault;

                   b. Unwelcomed and unwanted sexual advances;

                   c. Requests for sexual favors;

                   d. Unwanted and unwelcomed touching and groping;

                   e. Being subjected to jeers, lewd comments, sexual suggestions, catcalls and

                       the like;

                   f. Being stared at by male employees who were focused on certain parts of

                       Plaintiff’s body;

                   g. Being subjected to comments or offers of sexual contact or males making

                       offensive comments stating what they could or would like to do to Plaintiff

                       or other women;

                   h. Being subjected to men exposing their genitals and/or showing pictures of

                       their genitals;

                   i. Graffiti in the workplace;

                   j. By being ridiculed for having complained and/or being admonished not to

                       complain in the future;

                   k. Being referred to as a “bitch” and “hoe”;




                                                   3
    Case: 1:19-cv-03827 Document #: 59 Filed: 02/04/20 Page 5 of 33 PageID #:235




                   l. In many instances, this harassment occurs in the presence of Ford’s

                       supervisors and Ford would take no disciplinary action, or insufficient

                       action, against employees who engage in such sexually offensive conduct;

                   m. Ford’s male supervisors routinely assigned tasks to employees on a

                       discriminatory basis by assigning better tasks to those female employees

                       who submit to their sexual advances or who agree to go out with them;

           ANSWER: This paragraph contains conclusions of law to which no response is

required. To the extent that this paragraph contains factual allegations that require a response,

Ford denies the allegations, except to admit that it has received complaints of some of the behavior

alleged in this paragraph and that it has responded appropriately to those complaints.

           11.     Male employees routinely make discriminatory and harassing remarks or

gestures in front of supervisors and managers who take no action to discipline employees, to

eradicate the harassment or maintain an appropriate workplace environment.

           ANSWER: Ford denies the allegations in paragraph 11.

           12.     Defendant maintained a pattern and practice of inferior treatment of females,

including Plaintiff, with respect to the terms and conditions of employment, including job

assignments, harassment, training, promotions and overtime assignments.

           ANSWER: This paragraph contains conclusions of law to which no response is

required. To the extent that this paragraph contains factual allegations that require a response,

Ford denies the allegations.

           13.     Ford was aware of the ongoing discrimination and harassment perpetrated

against Plaintiff and fellow female employees that occurred on a daily basis in an open manner,

such that it was observed by employees and supervisors, and Ford turned a blind eye toward it.



                                                 4
    Case: 1:19-cv-03827 Document #: 59 Filed: 02/04/20 Page 6 of 33 PageID #:236




            ANSWER: Ford denies the allegations in paragraph 13.


                              COUNT 1
     TITLE VII-SEXUAL HARASSMENT AND HOSTILE WORK ENVIRONMENT

            14.     Plaintiff re-alleges and incorporates paragraphs one (1) through thirteen (13) as

though fully set forth at this place.

            ANSWER: Ford adopts its responses to the preceding paragraphs of the FAC as if

fully set forth herein.

            15.     Plaintiff adopts and incorporates by reference her allegations of sexual

harassment and of a hostile work environment alleged in her EEOC charges.

            ANSWER: Ford incorporates its responses to the preceding paragraphs of the FAC as

if fully set forth herein. Ford further denies the allegations of wrongful conduct contained in

Plaintiff’s EEOC Charge.

            16.     Plaintiff has been subjected to sexual harassment including but not limited to

the following ways:

                    a. Unwanted or unwelcome sexual advances;

                    b. Unwelcome or unwanted touching;

                    c. Requests for sexual favors;

                    d. Stories of sexual conquests, desires or escapades;

                    e. Comments about the female anatomy;

                    f. Comments about what a male “would like to do” to or with a female

                          sexually;

                    g. Comments of a sexually suggestive nature;

                    h. Name calling using names demeaning towards women such as “slut” or

                          “whore” or “hoe”;
                                                  5
    Case: 1:19-cv-03827 Document #: 59 Filed: 02/04/20 Page 7 of 33 PageID #:237




                   i. Pictures of genitalia and/or of a sexual nature;

                   j. Lurid, foul and offensive language and;

                   k. Other conduct of a sexually inappropriate nature for the workplace.

           ANSWER: This paragraph contains conclusions of law to which no response is

required. To the extent that this paragraph contains factual allegations that require a response,

Ford denies the allegations, except to admit that it has received complaints of some of the behavior

alleged in this paragraph and that it has responded appropriately to those complaints.

           17.     Supervisor Rich Murray pushed his penis and/or pelvis into and/or against

Plaintiff’s buttocks.

           ANSWER: Ford lacks knowledge or information sufficient to form a belief as to

whether Plaintiff experienced this alleged conduct, and on that basis, denies the allegations in

paragraph 17.

           18.     Supervisor Rich Murray inappropriately touched Plaintiff’s shoulders, waist,

and body making her feel uncomfortable and violated.

           ANSWER: Ford lacks knowledge or information sufficient to form a belief as to

whether Plaintiff experienced this alleged conduct, or how Plaintiff ‘felt’ based on the alleged

conduct, and on that basis, denies the allegations in paragraph 18.

           19.     In addition to being sexually harassed Plaintiff was subjected to a hostile

working environment in that she was forced to endure hostile working conditions in which other

women were harassed. This hostile working environment included but was not limited to the

following instances:

                   a. Having sex in the workplace, the parking lot, and other areas of the

                        workplace;



                                                 6
    Case: 1:19-cv-03827 Document #: 59 Filed: 02/04/20 Page 8 of 33 PageID #:238




                   b. Talking about sexual escapades which took place both in and outside of the

                       workplace;

                   c. Making unwelcome requests for sexual favors and grotesque sexual acts;

                   d. Showing pictures of genitalia;

                   e. Commenting about women’s vaginas and breasts in degrading and sexual

                       ways;

                   f. Commenting about the desire to perform sex acts on Plaintiff and other

                       women coworkers;

                   g. Jeering, making lewd comments, sexual suggestions and catcalls;

                   h. Referring to new female employees as “fresh meat”;

                   i. Constantly staring at women’s breasts and buttocks;

                   j. Offering better job assignments, better overtime opportunities, and better

                       opportunities for promotions to female employees who submitted to their

                       sexual advances;

                   k. Demoting and/or assigning Plaintiff and similarly situated female

                       employees to less desirable job opportunities when they rejected male

                       supervisors’ requests;

           ANSWER: This paragraph contains conclusions of law to which no response is

required. To the extent that this paragraph contains factual allegations that require a response,

Ford denies the allegations, except to admit that it has received complaints of some of the behavior

alleged in this paragraph and that it has responded appropriately to those complaints.




                                                 7
      Case: 1:19-cv-03827 Document #: 59 Filed: 02/04/20 Page 9 of 33 PageID #:239




            20.    In addition, Plaintiff witnessed a male co-worker physically assault another

woman Plaintiff closely worked with, Kim Sykes, giving her a “half-nelson” with one arm so she

could not get away, while using his free arm to grope Syke’s buttocks.

            ANSWER: Ford lacks knowledge or information sufficient to form a belief as to what

Plaintiff allegedly witnessed, and on that basis denies the allegations in paragraph 20.

            21.    When Plaintiff and Sykes complained about being sexually assaulted, they were

criticized and ridiculed for being “bitches” and “hoes” for complaining about sexual assaults.

            ANSWER: Ford lacks knowledge or information sufficient to form a belief as to

whether Plaintiff and Sykes were subjected to criticism or ridicule and if so, the supposed basis of

that criticism or ridicule, and on that basis denies the allegations in paragraph 21.

            22.    In Plaintiff’s presence, Ford employee Kevin Clayton stated, “Only thing black

girls can do for me is suck my dick.”

            ANSWER: Ford lacks knowledge or information sufficient to form a belief as to the

alleged comment made in Plaintiff’s presence, and on that basis denies the allegations in paragraph

22.

            23.    Plaintiff witnessed a female employee performing oral sex on a team leader and

Plaintiff believes the act may have been nonconsensual.

            ANSWER: Ford denies the allegations in paragraph 23.

            24.    The sexually harassing conduct of which Plaintiff complains, was unwelcome,

unwanted and non-consensual.

            ANSWER: Paragraph 24 contains conclusions of law to which no response is required.

To the extent that paragraph 24 contains factual allegations that require a response, Ford lacks




                                                  8
   Case: 1:19-cv-03827 Document #: 59 Filed: 02/04/20 Page 10 of 33 PageID #:240




knowledge or information sufficient to form a belief as to the allegations in paragraph 24 and on

that basis, denies the allegations.

             25.    Each incident described in this Count was offensive and harassing to Plaintiff

who either personally endured, observed the occurrences and/or heard other women complain

about them.

             ANSWER: Ford lacks knowledge or information sufficient to form a belief as to what

Plaintiff found offensive or what she endured or observed, and on that basis denies the allegations

in paragraph 25

             26.    The foregoing conduct is degrading, offensive and sexually harassing to

Plaintiff.

             ANSWER: Ford lacks knowledge or information sufficient to form a belief as to what

conduct Plaintiff supposedly experienced or whether she considered that conduct offensive, and

on that basis denies the allegations in paragraph 26.

             27.    The foregoing incidents and others like them were severe or pervasive, altered

the terms and conditions of Plaintiff’s employment and subjected Plaintiff to a hostile workplace

environment.

             ANSWER: Paragraph 27 contains conclusions of law to which no response is required.

To the extent that paragraph 27 contains factual allegations that require a response, Ford denies

the allegations.

             28.    Plaintiff complained about sexual harassment to Human Resources but

Defendant failed to take prompt remedial action.




                                                 9
      Case: 1:19-cv-03827 Document #: 59 Filed: 02/04/20 Page 11 of 33 PageID #:241




            ANSWER:        Ford admits that Plaintiff complained to Labor Relations at Ford’s

Chicago Stamping Plant about alleged violations of Ford’s anti-harassment policy, but denies that

Ford failed to take prompt remedial action. Ford denies the remaining allegations in paragraph 28.

            29.     As a direct and proximate result of the foregoing acts of sexual harassment,

Plaintiff suffered damages, including lost time from work, anxiety, humiliation and emotional

distress, and have otherwise suffered physical or psychological injuries.

            ANSWER: Ford denies that it engaged in any “acts of sexual harassment” and further

denies that Plaintiff is entitled to any recovery. Ford denies the remaining allegations in paragraph

29.

                                        COUNT 2
                          TITLE VII-GENDER/SEX DISCRIMINATION

            30.     Plaintiff re-alleges and incorporates paragraphs one (1) through twenty-nine

(29) as though fully set forth at this place.

            ANSWER: Ford adopts its responses to the preceding paragraphs of the FAC as if

fully set forth herein.

            31.     Plaintiff was treated differently than her male counterparts.

            ANSWER: Ford denies the allegations in paragraph 31.

            32.     Plaintiff was subjected to a hostile working environment, sexual harassment,

gender discrimination and discriminatory comments from supervisors and coworkers which males

are not required to endure as a condition of their employment.

            ANSWER: Paragraph 32 contains conclusions of law to which no response is required.

To the extent that paragraph 32 contains factual allegations that require a response, Ford denies

the allegations.




                                                 10
   Case: 1:19-cv-03827 Document #: 59 Filed: 02/04/20 Page 12 of 33 PageID #:242




           33.     Plaintiff was given different work assignments than male counterparts and her

and other women were told that they were not being assigned to perform certain tasks “because

they are women.”

           ANSWER: Ford admits that there are thousands of jobs at the facility where Plaintiff

worked and that both male and female employees may be assigned to different job assignments

for a variety of legitimate, business-related reasons. Ford denies that Plaintiff was given different

work assignments based on gender. Ford denies the remaining allegations in paragraph 33.

           34.     Plaintiff was subjected to comments of a derogatory nature, including but not

limited to being regularly referred to as a “bitch,” “hoe,” and “slut.”

           ANSWER: Ford lacks knowledge or information sufficient to form a belief as to what

comments Plaintiff was supposedly “subjected to,” and on that basis denies the allegations in

paragraph 34.

           35.     Women in general are not viewed as equals at Defendant but rather as sexual

objects.

           ANSWER: Ford denies the allegations in paragraph 35.

           36.     Being constantly exposed to unwanted sexual comments and discussion is

offensive and degrading to Plaintiff.

           ANSWER: Ford lacks knowledge or information sufficient to form a belief as to what

conduct Plaintiff deemed “unwanted” or found to be “offensive and degrading,” and on that basis

denies the allegations in paragraph 36. Ford denies the remaining allegations in paragraph 36.

           37.     Plaintiff was treated differently than similarly situated male employees as they

were not required to endure sexual harassment as a term and condition of their employment.

           ANSWER: Ford denies the allegations in paragraph 37.



                                                 11
   Case: 1:19-cv-03827 Document #: 59 Filed: 02/04/20 Page 13 of 33 PageID #:243




            38.     Plaintiff made complaints to Defendant about being exposed to a

discriminatory, sexually harassing and hostile work environment.

            ANSWER:        Ford admits that Plaintiff complained to Labor Relations at Ford’s

Chicago Stamping Plant about alleged violations of Ford’s anti-harassment policy. Ford denies

the remaining allegations in paragraph 38.

            39.     Defendant failed to stop and/or remedy the harassment, and male supervisors

and employees referred to Plaintiff as a “bitch.”

            ANSWER: Ford denies the allegation in paragraph 39.

            40.     Defendant failed to promptly discipline or reassign any males whom Plaintiff

complained and did not conduct a thorough or timely investigations of Plaintiff’s complaints.

            ANSWER: Ford denies the allegations in paragraph 40. Ford further avers that it is

not required to discipline or reassign male employees each time a complaint is made, regardless of

whether the complaint is corroborated.

            41.     As a direct and proximate result of the foregoing acts of gender discrimination,

Plaintiff was damaged in that she lost and/or was deprived of income opportunities, suffered

anxiety, humiliation and emotional distress, and has otherwise suffered physical or psychological

injuries.

            ANSWER: Ford denies that it engaged in any “acts of gender discrimination” and

further denies that Plaintiff is entitled to any recovery. Ford denies the remaining allegations in

paragraph 41.

                                       COUNT 3
                           RACE DISCRIMINATION UNDER §1981

            42.     Plaintiff re-alleges and incorporates paragraphs one (1) through thirteen (13) as

though fully set forth at this place.

                                                 12
   Case: 1:19-cv-03827 Document #: 59 Filed: 02/04/20 Page 14 of 33 PageID #:244




            ANSWER: Ford adopts its responses to the preceding paragraphs of the FAC as if

fully set forth herein.

            43.     Plaintiff is an African-American female.

            ANSWER: Ford admits the allegations in paragraph 43.

            44.     Defendant’s treatment of the Plaintiff denied her the full and equal treatment

benefit of all laws for the security of persons and property “as is enjoyed by white citizens” in

violation of 42 U.S.C. §1981.

            ANSWER: Paragraph 44 contains conclusions of law to which no response is required.

To the extent that paragraph 44 contains factual allegations that require a response, Ford denies

the allegations.

            45.     Plaintiff as an African-American was subjected to a racially hostile workplace

environment that provided similarly situated white employees more favorable terms and conditions

of employment.

            ANSWER: Paragraph 45 contains conclusions of law to which no response is required.

To the extent that paragraph 45 contains factual allegations that require a response, Ford denies

the allegations.

            46.     White employees were given preference in promotions, especially at Ford

Stamping Plant. For example:

            ANSWER: Ford denies the allegations in the introductory portion in paragraph 46.

                    a. Hourly production line workers in Ford’s Assembly and Stamping Plants

                          are subject to the instructions of salaried Supervisors or Managers of various

                          titles.




                                                    13
   Case: 1:19-cv-03827 Document #: 59 Filed: 02/04/20 Page 15 of 33 PageID #:245




           ANSWER: Ford admits that it employs salaried supervisors and managers who

manage various aspects of Ford’s business operations consistent with the terms of the applicable

collective bargaining agreements. Ford denies the remaining allegations in paragraph 46(a).

                  b. Ford promotes some hourly employees into lower-level manager roles,

                      carrying titles of “Team Leaders” and “Utilities” (Utilities assist Team

                      Leaders and serve in their place in their absence).

           ANSWER: Ford denies that Team Leaders and Utilities are “lower-level managers”

and that Utilities’ job functions consist of assisting Team Leaders. Ford admits that hourly

employees are, at times, selected into hourly classifications of Utilities and Team Leaders. Ford

denies the remaining allegations in paragraph 46(b).

                  c. Reassignment to the positions of Team Leaders and Utilities are considered

                      promotions and are accompanied with increased levels of managerial

                      responsibilities and wage increases and/or increased overtime opportunities.

           ANSWER: Ford admits that selection to Team Leader and Utility classifications are

considered promotions. Ford admits that, consistent with the collective bargaining agreements,

Team Leaders and Utilities typically have an hourly wage higher than regular production workers.

Ford avers that overtime availability and hours are dependent on a variety of legitimate factors,

but not on race. Ford denies the remaining allegations in paragraph 46(c).

                  d. Between 2012 and 2016, Ford was short on “Utilities” in its Stamping Plant.

           ANSWER: Ford denies the allegation in paragraph 46(d).

                  e. Ford, through its white Supervisors, including Brad Swing and Roy Erdman

                      trained Plaintiff and other African American employees as “Utilities” and




                                               14
   Case: 1:19-cv-03827 Document #: 59 Filed: 02/04/20 Page 16 of 33 PageID #:246




                        had them working for many months in that position in an “acting as”

                        capacity.

            ANSWER: Ford denies the allegations in paragraph 46(e). Ford avers that employees

are cross-trained, at times, for purposes of versatility.

                    f. Ford promoted a white co-worker from the assembly line who had not been

                        previously trained as a Utility named Kevin Clay into the Utility position

                        over Plaintiff and other African American employees that had been trained

                        for that position and who had been “acting as” Utilities.

            ANSWER: Ford denies the allegations in paragraph 46(f). Ford further avers that

Kevin Clay is African-American.

                    g. Ford did not pay Plaintiff the same hourly rate for similar work being

                        performed by other white Utilities on their shift and in their department.

            ANSWER: Ford denies the allegations in paragraph 46(g).

                    h. Of approximately twelve (12) Utilities on First Shift, none were black.

            ANSWER: Ford denies the allegations in paragraph 46(h).

                    i. Eventually, Plaintiff was informed that if she wanted to work as a Utility,

                        she needed to apply for an open Utility position on 3rd Shift – a less

                        desirable shift.

            ANSWER: Ford denies the allegations in paragraph 46(i). Ford avers that job postings

may be shift-specific and that employee seniority generally governs shift assignment consistent

with the terms of the collective bargaining agreement. Ford further avers that which shift is or is

not “desirable” is a matter of individual employee preference.




                                                  15
   Case: 1:19-cv-03827 Document #: 59 Filed: 02/04/20 Page 17 of 33 PageID #:247




                   j. Upon moving to Third Shift, Plaintiff experienced that white Supervisors

                       Ed Smith and Mark Olsen repeatedly denied black female employees

                       including herself and another African-American females proportional

                       overtime opportunities relative to similarly situated white employees.

           ANSWER: Ford denies the allegations in paragraph 46(j). Ford avers that overtime

availability is based on a variety of legitimate factors, but not on race.

                   k. Supervisors Smith and Olsen frequently gave overtime to white male

                       employee Octavia to perform set-up utility work, despite his job

                       classification as a Schuler, because Plaintiff would otherwise receive the

                       overtime chance by virtue of being at the top of the Overtime Equalization

                       list.

           ANSWER: Ford denies the allegations in paragraph 46(k).

                   l. Plaintiff complained about this to Don Byers, but when Byers investigated,

                       he found that Supervisor Olsen admitted misclassifying Octavia to allow

                       him overtime, but that Olsen refused to provide equal overtime

                       opportunities to African-American utilities.

           ANSWER: Ford lacks knowledge or information sufficient to form a belief as to what

Plaintiff may have shared with UAW representative Don Byers, and what UAW representative

Don Byers ‘found’ as part of the investigation Plaintiff alleges occurred, and on that basis, denies

the remaining allegations in paragraph 46(l).

                   m. In 2015, Plaintiff applied for a promotion to “Team Leader.”

           ANSWER: Ford admits the allegations in paragraph 46(m).




                                                  16
   Case: 1:19-cv-03827 Document #: 59 Filed: 02/04/20 Page 18 of 33 PageID #:248




                   n. Plaintiff was told she “did not have enough knowledge” and was not even

                       interviewed for the position, however, Tracy Longtin, a white employee

                       with less than one year of seniority and experience at Ford was promoted to

                       the Team Leader position.

           ANSWER: Ford admits that Tracy Longtin was selected as a Team Leader and that

she is Caucasian. Ford denies the remaining allegations in paragraph 46(n).

                   o. At the time Longtin was promoted to Team Leader over Plaintiff, only three

                       of more than twenty Team Leaders and Utilities on First Shift at the

                       Stamping Plant were African-American.

           ANSWER: Ford denies the allegations in paragraph 46(o). Ford avers that shift

placement is governed by the terms of the collective bargaining agreement.

           47.     From 2012 through Plaintiff’s termination, Defendant tolerated a racially

discriminatory workplace environment in which symbols of racism were permitted to be posted

and to remain in plain sight of African-American employees, such as:

           ANSWER: The introductory portion of paragraph 47 contains conclusions of law to

which no response is required. To the extent that the introductory portion of paragraph 47 contains

factual allegations that require a response, Ford denies the allegations.

                   a. A noose had been hung in the Stamping Plant in plain view of Plaintiff;

           ANSWER: Ford denies the allegations in paragraph 47(a).

                   b. Constant reminders of racism had been painted in the restroom and Plaintiff

                       had been forced to endure those reminders. By way of example, these

                       statements included “Why did you hire all these niggers?” Despite




                                                 17
   Case: 1:19-cv-03827 Document #: 59 Filed: 02/04/20 Page 19 of 33 PageID #:249




                        numerous complaints, Defendant permitted this particular statement to

                        remain posted in the restroom for a substantial period of time.

              ANSWER: Ford admits that on one occasion in March 2015, graffiti was found on a

restroom wall at the Chicago Stamping Plant with language similar to that quoted. Ford denies

that it allowed the statement to remain in the restroom for a substantial period of time. Ford avers

that it promptly removed the graffiti. Ford denies the remaining allegations in paragraph 47(b).

              48.    Racial (and sexist) epithets have been yelled by white employees toward black

employees at the Stamping Plant, including in Plaintiff’s presence. Plaintiff personally witnessed

a white employee yelling that an African-American female was a “black nigger bitch” while

threatening to stab her with a screwdriver. Despite complaints by Plaintiff and others, the white

employee was permitted to continue working that day and was only penalized with nominal

discipline.

              ANSWER: Ford lacks knowledge or information sufficient to form a belief as to what

Plaintiff allegedly witnessed, and on that basis denies the allegations in paragraph 48. Ford denies

the remaining allegations in paragraph 48.

              49.    As a result of the foregoing intentional conduct, Plaintiff has been denied equal

rights and have been denied equal enjoyment of the benefits, privileges, terms and conditions of

employment as white employees.

              ANSWER: Paragraph 49 contains conclusions of law to which no response is required.

To the extent that paragraph 49 contains factual allegations that require a response, Ford denies

the allegations in paragraph 49 and incorporates its responses to paragraphs 44 to 49 (including

sub-parts) which appear to be the “foregoing intentional conduct” alleged in this paragraph.




                                                  18
   Case: 1:19-cv-03827 Document #: 59 Filed: 02/04/20 Page 20 of 33 PageID #:250




            50.     As a direct and proximate result of the foregoing acts of gender discrimination,

Plaintiff was damaged in that she lost and/or was deprived of income opportunities, suffered

anxiety, humiliation and emotional distress, and has otherwise suffered physical or psychological

injuries.

            ANSWER: Ford denies that it engaged in any “acts of gender discrimination” and

further denies that Plaintiff is entitled to any recovery.

                                           COUNT 4
                                    TITLE VII-RETALIATION

            51.     Plaintiff re-alleges and incorporates paragraphs one (1) through fifty (50) as

though fully set forth at this place.

            ANSWER: Ford adopts its responses to the preceding paragraphs of the FAC as if

fully set forth herein.

            52.     Plaintiff adopts and incorporates by reference her allegations of retaliation

alleged in her EEOC Charge.

            ANSWER: Ford incorporates its responses to the preceding paragraphs of the FAC as

if fully set forth herein. Ford further denies the allegations of wrongful conduct contained in the

cited EEOC Charge.

            53.     Plaintiff was retaliated against for refusing sexual advances from supervisors

and making formal complaints about sexual advances, comments, innuendo, and lurid foul and

offensive language.

            ANSWER: Ford denies the allegations in paragraph 53.

            54.     As a result of Plaintiff’s complaints of sexual harassment and discrimination,

supervisors went out of their way to make Plaintiff’s job more difficult and took extra measures to

subject Plaintiff to increased scrutiny and/or discipline.

                                                  19
   Case: 1:19-cv-03827 Document #: 59 Filed: 02/04/20 Page 21 of 33 PageID #:251




           ANSWER: Ford denies the allegations in paragraph 54.

           55.        In retaliation for the Plaintiff’s numerous complaints and for filing charges of

discrimination with the EEOC, Defendant retaliated against Plaintiff and treated Plaintiff

differently than others in the following ways:

           ANSWER: Ford denies the allegations in the introductory portion of paragraph 55.

                      a. Repeatedly unfairly disciplining Plaintiff;

           ANSWER: Ford admits that Plaintiff has been disciplined multiple times during her

employment for a variety of reasons, but denies that Plaintiff was ever unfairly disciplined or that

any discipline was in retaliation for Plaintiff engaging in protected activity. Ford denies the

remaining allegations in paragraph 55(a).

                      b. After Plaintiff complained about being sexually harassed by Supervisor

                         Rich Murray, Murray told Plaintiff “you aren’t running the line anymore”;

           ANSWER: Ford denies the allegations in paragraph 55(b).

                      c. Although Plaintiff had been “acting as” a Utility (a lower level managerial

                         position) and was entitled a raise and official promotion in title, Murray

                         refused to officially promote Plaintiff;

           ANSWER: Ford denies the allegations in paragraph 55(c).

                      d. Murray demoted Plaintiff from working as a Utility and reassigned her back

                         to a non-managerial position on the production line;

           ANSWER: Ford denies the allegations in paragraph 55(d). Ford avers that promotions

and job assignments are determined based on a variety of legitimate factors, but not based on

protected activity.

                      e. Sent Plaintiff home early for the remainder of a shift without pay;



                                                   20
   Case: 1:19-cv-03827 Document #: 59 Filed: 02/04/20 Page 22 of 33 PageID #:252




            ANSWER: Ford denies the allegations in paragraph 55(e). Ford avers Plaintiff was

disciplined prior to her complaint about Murray, and that she received a balance of shift penalty

for being out of her work area after she had been previously counseled for the offense, but denies

that it was in retaliation for any protected activity.

                       f. Denied Plaintiff overtime opportunities that were otherwise offered to

                          employees who did not complain.

            ANSWER: Ford denies that Plaintiff was denied overtime opportunities in retaliation

for any protected activity. Ford further avers that overtime opportunities are determined based on

a variety of legitimate factors, but not on protected activity. Ford denies the remaining allegations

in paragraph 55(f).

            56.        Furthermore, Defendants retaliated against Plaintiff for her complaints of

sexual harassment and discrimination and her EEOC charges, by terminating Plaintiff from Ford

despite her sixteen-year tenure with the company.

            ANSWER: Ford denies the allegations in paragraph 56, except to admit that Ford

terminated Plaintiff’s employment for legitimate reasons and that Plaintiff’s termination was not

related to any protected activity.

            57.        Defendant’s reason for Plaintiff’s termination was false and merely pretext for

illegal retaliation.

            ANSWER: Ford denies the allegations in paragraph 57.

            58.        Defendant’s retaliatory acts against Plaintiff constitute materially adverse

employment actions.




                                                   21
   Case: 1:19-cv-03827 Document #: 59 Filed: 02/04/20 Page 23 of 33 PageID #:253




            ANSWER: Paragraph 58 contains conclusions of law to which no response is required.

To the extent that paragraph 58 contains factual allegations that require a response, Ford denies

the allegations in paragraph 58.

            59.     There is a causal connection between Plaintiff’s protected activity and

Defendant’s retaliatory actions.

            ANSWER: Ford denies the allegations in paragraph 59.

            60.     Similarly situated employees who did not engage in protected activity were

treated more favorably than Plaintiff.

            ANSWER: Ford denies the allegations in paragraph 60.

            61.     As a direct and proximate result of the foregoing acts of gender discrimination,

Plaintiff was damaged in that she lost and/or was deprived of income opportunities, suffered

anxiety, humiliation and emotional distress, and has otherwise suffered physical or psychological

injuries.

            ANSWER: Ford denies that it has engaged in any “acts of gender discrimination” and

further denies that Plaintiff is entitled any recovery. Ford denies the remaining allegations in

paragraph 61.

                                            COUNT 5
                                            BATTERY

            62.     Plaintiff re-alleges and incorporates paragraphs one (1) through forty-one (41)

as though fully set forth at this place.

            ANSWER: Ford adopts its responses to the preceding paragraphs of the FAC as if

fully set forth herein.

            63.     Plaintiff was subjected to a harmful or offensive touching, without her consent,

by one or more of Defendant’s supervisors, managers and/or employees.

                                                 22
   Case: 1:19-cv-03827 Document #: 59 Filed: 02/04/20 Page 24 of 33 PageID #:254




            ANSWER: Ford denies the allegations in paragraph 63.

            64.     Defendant took no steps to prevent Plaintiff from suffering a battery.

            ANSWER: Ford denies the allegations in paragraph 64, including but not limited to

the allegation that Plaintiff suffered a battery.

            65.     The supervisors, managers, and/or employees engaging in this conduct did so

with the intent to harm the Plaintiff.

            ANSWER: Ford denies the allegations in paragraph 65.

            66.     As a direct and proximate result of the foregoing conduct, the Plaintiff suffered

personal injuries, bodily damage, became sore, lame, sick and disabled, suffered mental anguish,

anxiety and humiliation, emotional distress and other forms of personal injury and bodily damage.

            ANSWER: Ford denies that Plaintiff suffered any actionable injury or that she is

entitled to any recovery. Ford denies the remaining allegations in paragraph 66.

                                              COUNT 6
                                              ASSAULT

            67.     Plaintiff re-alleges and incorporates paragraphs one (1) forty-one (41) as though

fully set forth at this place.

            ANSWER: Ford adopts its responses to the preceding paragraphs of the FAC as if

fully set forth herein.

            68.     The foregoing acts by the Defendant were done intentionally.

            ANSWER: Ford denies the allegations in paragraph 68.

            69.     These acts placed Plaintiff in fear or reasonable apprehension of immediate

battery or harmful or offensive touching.

            ANSWER: Ford denies the allegations in paragraph 69.

            70.     Defendant took no steps to prevent Plaintiff from being assaulted.

                                                    23
   Case: 1:19-cv-03827 Document #: 59 Filed: 02/04/20 Page 25 of 33 PageID #:255




            ANSWER: Ford denies the allegations in paragraph 70, including but not limited to

the allegation that Plaintiff suffered an assault.

            71.     As a direct and proximate result of the Defendant’s conduct, the Plaintiff was

damaged.

            ANSWER: Ford denies that Plaintiff suffered any actionable injury or that she is

entitled to any recovery. Ford denies the remaining allegations in paragraph 71.

                                    COUNT 7
                  INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                            (PRESERVED FOR APPEAL)

            72.     Plaintiff re-alleges and incorporates paragraphs one (1) through seventy-one

(71) as though fully set forth at this place.

            73.     Defendant, through its supervisors, managers and employees, intended to cause

Plaintiff severe emotional distress.

            74.     Defendant’s conduct and the conduct of its supervisors, managers and

employees was extreme, outrageous and beyond the bounds of moral decency.

            75.     Defendant’s conduct and the conduct of its supervisors, managers and

employees was so outrageous that no reasonable person could be expected to endure it.

            76.     As a direct and proximate result of the Defendant’s conduct and the conduct of

its supervisors, managers and employees, the Plaintiff suffered severe emotional distress and was

damaged.

            ANSWER:        Ford states that no responsive pleading is required in response to

paragraphs 72 through 76 of the FAC, since the Court has previously dismissed this claim and

Plaintiff re-pleads it for purposes of appeal only. To the extent a further response is required, Ford




                                                     24
    Case: 1:19-cv-03827 Document #: 59 Filed: 02/04/20 Page 26 of 33 PageID #:256




denies the allegations in Count 7 and incorporates its prior responses to paragraphs 1-71 as if fully

set forth herein.

                                       PRAYER FOR RELIEF

         WHEREFORE, Plaintiff, by and through his [sic] attorneys, ED FOX & ASSOCIATES,

LTD., requests the following relief:


             A.     That Plaintiff be granted general and compensatory damages in an amount to

be determined at trial;

             B.     That Plaintiff be granted special damages, including lost wages and benefits, in

a sum to be ascertained;

             C.     That Plaintiff be granted punitive damages in an amount to be determined at

trial;

             D.     That the Court grant to Plaintiff his reasonably incurred attorneys’ fees, costs,

litigation expenses, and pre-judgment interest; and

             E.     That the Court grant such other and further relief as the Court may deem just or

equitable.

             ANSWER: Ford denies that Plaintiff is entitled to any of the relief requested in the

FAC, including in the “Prayer for Relief.”

                                   AFFIRMATIVE DEFENSES

         In addition to the denials set forth above, Ford asserts the following defenses. In pleading

these defenses, Ford does not admit that it bears the burden of proof, production or persuasion on

such defenses. Further, Ford reserves the right to amend its Answer, to add or delete defenses, and

to add such counterclaims as may become necessary after reasonable opportunity for investigation

and discovery.


                                                 25
   Case: 1:19-cv-03827 Document #: 59 Filed: 02/04/20 Page 27 of 33 PageID #:257




                               FIRST AFFIRMATIVE DEFENSE

        The FAC, in whole or in part, fails to state a claim upon which relief can be granted because

Plaintiff cannot satisfy each of the elements of the causes of action asserted, including a hostile

work environment, gender discrimination, race discrimination, retaliation, battery, assault, and

intentional infliction of emotional distress (“IIED”) under applicable law.

                             SECOND AFFIRMATIVE DEFENSE

       Plaintiff’s claims under Title VII are barred in whole or in part to the extent Plaintiff failed

to satisfy administrative prerequisites to filing suit, including but not limited to timely filing an

administrative charge and/or timely filing suit after receiving notice of the right to sue.

                              THIRD AFFIRMATIVE DEFENSE

       Plaintiff’s Title VII claims are barred to the extent relief is sought for alleged acts outside

the scope of the EEOC Charge of discrimination on which she relies for her Title VII claims in

this lawsuit.

                             FOURTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims are barred, in whole or in part, by applicable limitations periods, to the

extent she asserts liability claims from before the start of such limitations periods.

                               FIFTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims may be barred in whole or in part by reason of her own actions or course

of conduct under the doctrines of estoppel, waiver, or unclean hands.

                               SIXTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims are barred to the extent she has failed to mitigate damages or otherwise

avoid harm, and any recovery must be reduced accordingly.

                             SEVENTH AFFIRMATIVE DEFENSE



                                                  26
   Case: 1:19-cv-03827 Document #: 59 Filed: 02/04/20 Page 28 of 33 PageID #:258




       Plaintiff’s damages, if any, were caused by her own actions or failure to act or otherwise

caused by individuals or events over whom/which Defendant had no control.

                             EIGHTH AFFIRMATIVE DEFENSE

       Plaintiff’s hostile work environment claim is barred in whole or in part to the extent Plaintiff

cannot show that Ford knew or should have known of alleged harassment and failed to take prompt

and effective remedial action.

                              NINTH AFFIRMATIVE DEFENSE

       Alternatively, Plaintiff’s hostile work environment claim is barred because Ford acted

reasonably in accordance with Ford’s policies by exercising reasonable care to prevent and

promptly correct any alleged harassing behavior, and Plaintiff unreasonably or untimely failed to

avail herself of preventive or corrective opportunities provided, or otherwise failed to avoid harm.

                              TENTH AFFIRMATIVE DEFENSE

       Plaintiff’s hostile work environment claim is barred to the extent that alleged tangible,

adverse employment actions were not causally related to the alleged conduct of any Ford salaried

personnel as set forth in the FAC.

                           ELEVENTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims are barred to the extent the acts about which Plaintiff complains do not

constitute adverse employment actions or tangible adverse employment actions under applicable

law.

                            TWELFTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims are barred because the employment actions complained of herein were

based upon legitimate, non-discriminatory and non-retaliatory reasons. Alternatively, Ford would

have taken the same employment actions in any event for legitimate reasons.



                                                  27
   Case: 1:19-cv-03827 Document #: 59 Filed: 02/04/20 Page 29 of 33 PageID #:259




                          THIRTEENTH AFFIRMATIVE DEFENSE

       Any recovery of damages for purported violations of Title VII is limited to the statutory

maximum under applicable law.

                          FOURTEENTH AFFIRMATIVE DEFENSE

       Plaintiff’s claim for damages should be offset or reduced to the extent such claimed damages

are compensated by other sources or caused by events unrelated to Defendant’s conduct.

                            FIFTEENTH AFFIRMATIVE DEFENSE

       To the extent any alleged intentional discriminatory and/or wrongful conduct was

committed by Defendant’s agents (which Defendant denies), said conduct was outside the scope

of the agent’s authority and was contrary to Defendant’s good faith efforts to comply with

applicable law.

                            SIXTEENTH AFFIRMATIVE DEFENSE

       Defendant is not liable for punitive damages because employment actions about which

Plaintiff complains were taken consistent with the collective bargaining agreement.

                         SEVENTEENTH AFFIRMATIVE DEFENSE

       Plaintiff is not entitled to punitive damages, and any award of punitive damages may violate

the U.S. Constitution and/or the Illinois Constitution, because Ford did not commit any malicious

act against Plaintiff or with reckless indifference to the rights of Plaintiff.

                          EIGHTEENTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims for punitive damages are barred because Ford engaged in good faith efforts

to comply with Title VII.

                           NINETEENTH AFFIRMATIVE DEFENSE




                                                   28
     Case: 1:19-cv-03827 Document #: 59 Filed: 02/04/20 Page 30 of 33 PageID #:260




       Plaintiff’s claims for punitive damages are barred because no salaried personnel of Ford

acted with the requisite mental state toward Plaintiff.

                           TWENTIETH AFFIRMATIVE DEFENSE

       To the extent allegations in this case relate to events that purportedly occurred years before

this lawsuit was filed, the passage of time has prejudiced Ford because, among other things,

witnesses’ recollection of events has dimmed, witnesses are no longer employed by Ford or

available for purposes of discovery or trial. Accordingly, evidence in support of any such claims

and any relief requested is barred by the doctrine of laches.

                         TWENTY FIRST AFFIRMATIVE DEFENSE

       Plaintiff’s claims are barred to the extent she fails to plead or prove elements of such claims

in accordance with Court Orders under the law of the case doctrine.

                        TWENTY SECOND AFFIRMATIVE DEFENSE

       Plaintiff’s state law claims are barred under the Labor Management Relations Act to the

extent such claims call for interpretation of provisions in the collective bargaining agreement.

                         TWENTY THIRD AFFIRMATIVE DEFENSE

       Plaintiff’s state law tort claims for battery and IIED are barred because Plaintiff’s remedy,
                                                                                   2
if any, for such injuries is governed by the Illinois Workers’ Compensation law.

                       TWENTY FOURTH AFFIRMATIVE DEFENSE

       Any claim for equitable relief may be barred because Plaintiff has an adequate remedy at

law.

                         TWENTY FIFTH AFFIRMATIVE DEFENSE


 2
     Since Plaintiff has re-alleged her IIED claim to preserve it for appeal, Defendant asserts this
     defense to Plaintiff’s IIED claim. See Foxcroft Townhome Owners Ass’n v. Hoffman Rosner
     Corp., 449 N.E.2d 125 (Ill. 1983).
                                                 29
   Case: 1:19-cv-03827 Document #: 59 Filed: 02/04/20 Page 31 of 33 PageID #:261




      Plaintiff’s state law tort claim for IIED are barred as preempted by the Illinois Human Rights

Act. See note 2 supra.

                         TWENTY SIXTH AFFIRMATIVE DEFENSE

      To the extent that Plaintiff could have been disciplined based on evidence acquired during

discovery in this case, any recovery by such Plaintiff is limited by the doctrine of after-acquired

evidence.

                       TWENTY SEVENTH AFFIRMATIVE DEFENSE

      Plaintiff’s claims are barred to the extent that they are based on any allegations that are

inconsistent with or outside the scope of the agreement reached between the parties (see Van et al.

v. Ford Motor Co., No. 14-cv-8708 (N.D. Ill.) (“Van”) Dkt. 389) and ordered by the Court (Van

Dkt. 391).

      Ford reserves its right to amend and state additional defenses upon further investigation and

discovery.

             WHEREFORE, having fully answered Plaintiff Shranda Campbell’s Fourth Amended

Complaint, Defendant Ford Motor Company prays that:

             A. Plaintiff Shranda Campbell’s Fourth Amended Complaint be dismissed with

prejudice and that Plaintiff take nothing thereby;

             B. Ford be awarded its costs and reasonable attorneys’ fees incurred in connection

with the defense of this action; and

             C. Ford be awarded such other and further relief as the Court deems just and proper.




                                                30
  Case: 1:19-cv-03827 Document #: 59 Filed: 02/04/20 Page 32 of 33 PageID #:262




DATED: February 4, 2020

                                                Respectfully submitted,

                                                /s/ Katherine V.A. Smith
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                                           31
   Case: 1:19-cv-03827 Document #: 59 Filed: 02/04/20 Page 33 of 33 PageID #:263




                                CERTIFICATE OF SERVICE

       I hereby certify that on this 4th day of February, 2020, I electronically filed the foregoing

with the clerk of the court by using the CM/ECF system, and served the foregoing by email as

follows:

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                                                32
